                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       NO. 3:12-00076
                                                     )       JUDGE CAMPBELL
ALLEN WALKER, et al.                                 )

                                             ORDER

       A Superseding Indictment (Docket No. 27) was filed in this case on June 13, 2012 adding

Defendants Jason Powell, Megan Johnson, Ashley Johnson, Jeffrey Johnson, Robert Hall,

Anthony James, Billy Griffith, and Charles Powell. The Court held a status conference on July

18, 2012. For the reasons stated on the record, the trial in this case remains scheduled for

January 29, 2013.

       It is so ORDERED.

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                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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